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     Attorney for Defendant
5    NOEL CASTILLO
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       ) No. 1:09-cr-00104 LJO
12                                   )
                    Plaintiff,       ) STIPULATION AND ORDER TO
13                                   ) CONTINUE SENTENCING
          v.                         )       (Note date for sentencing)
14                                   )
     NOEL CASTILLO,                  )
15                                   )
                    Defendants.      )
16   _______________________________ )
17
           Defendant NOEL CASTILLO, through his attorney ROBERT L. FORKNER, and
18
     the United States, through its counsel, Assistant United States Attorney KAREN A.
19
     ESCOBAR, hereby stipulate and request the following:
20
           I. That the Court continue the sentencing in the above-captioned case from
21
     September 10, 2010, to October 4, 2010, at 9:00 a.m.
22
           II. The defense has requested the continuance in order to permit Mr. Castillo’s co-
23
     defendant to be sentenced first on September 30, 2010. Further, the Defense counsel has
24
     three previously scheduled federal court appearances in Sacramento in the following
25
     matters: 1.) United States v. Wenceslao Rosales, Case No.: 2:09-cr-377 before the
26
     Honorable Judge Garland E. Burrell Jr., 2.) United States v. Jesus Barraza, Case No.: 2:08-
27
     cr-562 before the Honorable Judge Edward J. Garcia and 3.) United States v. Gerardo
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1    Valencia-Revuelta, Case No.: 09-cr-381 before the Honorable Judge Edward J. Garcia.
2           For these reasons, the parties stipulate and request that the Court exclude time
3    within which the trial must commence under the Speedy Trial Act from September 10,
4    2010 through October 4, 2010, for defense preparation under 18 U.S.C.
5    § 3161(h)(8)(B)(ii) and (iv) (local codes T2 and T4).
6
7                                                 Respectfully submitted,
8
9          Dated: September 6, 2010
                                                  /s/ Robert L. Forkner
10                                                ROBERT L. FORKNER
                                                  Attorney for Defendant
11                                                NOEL CASTILLO
12         Dated: September 6, 2010
                                                  /s/ Karen A. Escobar
13                                                KAREN A. ESCOBAR
                                                  Assistant United States Attorney
14
15
16
17                                            ORDER
18          For the reasons stated above, the Court finds that the needs of defense counsel to
19   prepare outweigh the public and the defendants’ interest in a speedy trial, and therefore the
20   continuance and exclusion of time are in the interest of justice. The matter is continued
21   to FRIDAY, OCTOBER 8, 2010 at 9 a.m.
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23
24   IT IS SO ORDERED.
25   Dated:     September 9, 2010           /s/ Lawrence J. O'Neill
     b9ed48                             UNITED STATES DISTRICT JUDGE
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28                                                 2
